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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE

MICHAEL WESCOTT,                        *
                                        *
       Plaintiff                        *
                                        *
   v.                                   *       CIVIL ACTION No.
                                        *
MAINE DEPARTMENT OF                     *
CORRECTIONS;                            *
MARTIN MAGNUSSON,                       *
Commissioner of Maine Department of     *
Corrections; JOSEPH LEHMAN,             *
Commissioner of Maine Department of     *
Corrections; MARY ANN SAAR,             *
Associate Commissioner for Maine        *
Juvenile Services; LARS OLSEN,          *
Superintendent of Maine Youth Center;   *
ROBERT LANCASTER, Superintendent *
of Maine Youth Center; A.L.             *
CARLISLE, Associate Commissioner for *
Maine Juvenile Services and Director of *
Rehabilitation and Admission Programs; *
BARBARA HEATH, Psychologist for         *
Maine Youth Center; SCOTT DEWITT, *
Training School Counselor; DANIEL       *
NEE, Training School Counselor          *
Supervisor; CHRISTOPHER COYNE,          *
Training School Counselor; DANIEL       *
DICKSON, Training School Counselor;     *
JEFFERY HAWKINS, Training School        *
Counselor; KIMBERLY ACKLEY              *
GENDRON, Training School Counselor; *
BARRY LEMERY, Training School           *
Counselor; BRAIN MACDOUGALL,            *
Training School Counselor; MATTHEW *
NEE, Training School Counselor; JEFF    *
TARDIFF, Training School Counselor;     *
MICHAEL WHELAN, Training School *
Counselor; JANE AND/OR JOHN DOE, *
Training School Counselor(s)            *




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                          COMPLAINT (JURY TRIAL REQUESTED)

                                         INTRODUCTION

       1.        This is a civil rights case challenging the use of excessive isolation, excessive

restraint, excessive force, and sexual assault of Michael Wescott, as well as deliberate denial of

adequate rehabilitative treatment and denial of his right to receive an appropriate education.

       2.        Beginning in 1995, when Michael was twelve years old, and continuing until his

release in 2001, Michael was intermittently confined at Maine Youth Center (“MYC”). During his

confinement, MYC medical providers failed to appropriately treat Michael for his severe Attention

Deficit Hyperactivity Disorder (“ADHD”) (historically termed or referred to as Attention Deficit

Disorder or “ADD”) despite being aware of his diagnosis and need for medical treatment.

       3.        As a result, Michael experienced ADHD that led him to experience symptoms that

MYC treated as “acting out”. These “misbehaviors” routinely caused Michael to be placed in

MYC’s Intensive Care Unit (“ICU”), which meant being subjected not only to prolonged

confinement in isolation, but often excessive and inhumane restraint, inappropriate strip searches,

as well as physical, sexual, and psychological abuse by MYC guards.

       4.        The mistreatment Michael received while confined at MYC resulted in permanent

physical, psychological and emotional damage and has prevented Michael from being able to lead

a normal life.

       5.        Plaintiff Michael Wescott brings this action to recover damages for the violation of

his federal and state constitutional and civil rights committed by the officers and employees of the

State of Maine Department of Corrections during his confinement.




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                                   JURISDICTION & VENUE

       6.      Venue is proper in the District Court of Maine under 28 U.S.C. § 1391(b) because

the incidents complained of took place in the City of South Portland, County of Cumberland, State

of Maine or City of Augusta, County of Kennebec, State of Maine, commencing in 1995 and

continuing until Plaintiff’s release from confinement at the age of 18. Under Rule 3(b) of the Rules

of this Court, this action is properly filed in Portland because a substantial portion of the events at

issue occurred in Cumberland County.

       7.      This action is brought pursuant to Federal Civil Rights Law, 42 U.S.C. §§ 1983 and

1988, the Federal Juvenile Justice and Delinquency Prevention, 34 U.S.C. § 11101 et seq., the

Individuals with Disabilities Education Act, 20 U.S.C. § 1400 et seq., the Americans with

Disabilities Act, 20 U.S.C. § 12101 et seq., and the Eighth and Fourteenth Amendments to the

United States Constitution.

       8.      Additionally, this action is also brought pursuant to State Law under the Maine

Juvenile Code, 15 M.R.S. § 3001 et seq., and the Maine Corrections Code, Subchapter V, Maine

Youth Center, 34-A M.R.S. § 3801 et seq.

       9.      Title 28 U.S.C. §§ 1331 and 1343 provide federal-question jurisdiction, and 28

U.S.C. § 1367(a) provides supplemental jurisdiction over state law claims.

                                             PARTIES

       10.     The Plaintiff, Michael Wescott is an individual residing in Gorham, Cumberland

County, Maine, and at all material times, was a citizen of the United States and was a minor child

until 2001. By the age of twelve, Michael had been diagnosed with ADHD, brain disorders

characterized by hyperactivity, impulsivity, and inattention.




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       11.     Defendant Maine Department of Corrections (“DOC”) is “responsible for the

direction and general administrative supervision, guidance, and planning of adult and juvenile

correctional facilities and programs within the State.” § 1202. The DOC is the department under

which Maine Youth Center, Maine’s only state-run center for the incarceration of juveniles, is

operated. 34-M.R.S. §§ 1202, 3801, 3802. At all material times and until June 4, 1999, the juvenile

correctional facility located in South Portland, Maine was named the Maine Youth Center; after

that date, pursuant to 34-A M.R.S. § 3801, the name of the facility was changed to the Southern

Maine Juvenile Facility, and later, on July 1, 2001, to the Long Creek Youth Development Center.

For purposes of this Complaint, the facility will be referred to as the Maine Youth Center

(“MYC”).

       12.     Defendant Martin Magnusson, during a portion of the time material herein, was the

Commissioner of Corrections for the State of Maine located at State Office Building in Augusta,

Maine, and he is sued in his official capacity;

       13.     Defendant Joseph Lehman, during a portion of the time material herein, was the

Commissioner of Corrections for the State of Maine located at State Office Building in Augusta,

Maine, and he is sued in his official capacity;

       14.     Defendant Mary Ann Saar, during a portion of the time material herein, was an

Associate Commissioner for Juvenile Services for the State of Maine located at State Office

Building in Augusta, Maine, and she is sued in her official capacity;

       15.     Defendant Lars Olsen, during a portion of the time material herein, was the

Superintendent of Maine Youth Center, located at 675 Westbrook Street in South Portland, Maine,

and he is sued in his official capacity;




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        16.     Defendant Robert Lancaster, during a portion of the time material herein, was the

Acting Superintendent of Maine Youth Center, located at 675 Westbrook Street in South Portland,

Maine, and during a portion of the time material herein, was the Assistant Superintendent of Maine

Youth Center, located at 675 Westbrook Street in South Portland, Maine, and he is sued in his

official capacity;

        17.     Defendant A.L. Carlisle, during a portion of the time material herein, was the

Associate Commissioner for Juvenile Services for the State of Maine, located at State Office

Building in Augusta, Maine, and during a portion of the time material herein, was the Director of

Rehabilitation and Admission Programs, and during a portion of the time material herein, was the

Assistant Superintendent of Maine Youth Center, located at 675 Westbrook Street in South

Portland, Maine, and she is sued in her individual capacity;

        18.     Defendant Barbara Heath, at material times herein, was a psychologist for Maine

Youth Center, located at 675 Westbrook Street in South Portland, Maine, and she is sued in her

official and individual capacity;

        19.     Defendant Scott Dewitt, during a portion of the time material herein, was a Training

School Counselor Supervisor for Maine Youth Center, located at 675 Westbrook Street in South

Portland, Maine, and, during a portion of the time material herein, was a Training School

Counselor for Maine Youth Center, located at 675 Westbrook Street in South Portland, Maine, and

he is sued in his individual capacity;

        20.     Defendant Daniel Nee, during a portion of the time material herein, was a Training

School Counselor Supervisor for Maine Youth Center, located at 675 Westbrook Street in South

Portland, Maine, and he is sued in his individual capacity;




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       21.     Defendant Christopher Coyne, during a portion of the time material herein, was a

Training School Counselor for Maine Youth Center, located at 675 Westbrook Street in South

Portland, Maine, and he is sued in his individual capacity;

       22.     Defendant Daniel Dickson, during a portion of the time material herein, was a

Training School Counselor for Maine Youth Center, located at 675 Westbrook Street in South

Portland, Maine, and he is sued in his individual capacity;

       23.     Defendant Jeffrey Hawkins, during a portion of the time material herein, was a

Training School Counselor for Maine Youth Center, located at 675 Westbrook Street in South

Portland, Maine, and he is sued in his individual capacity;

       24.     Defendant Kimberly Ackley Gendron, during a portion of the time material herein,

was a Training School Counselor for Maine Youth Center, located at 675 Westbrook Street in

South Portland, Maine, and she is sued in her individual capacity;

       25.     Defendant Barry Lemery, during a portion of the time material herein, was a

Training School Counselor for Maine Youth Center, located at 675 Westbrook Street in South

Portland, Maine, and he is sued in his individual capacity;

       26.     Defendant Brian MacDougall, during a portion of the time material herein, was a

Training School Counselor for Maine Youth Center, located at 675 Westbrook Street in South

Portland, Maine, and he is sued in his individual capacity;

       27.     Defendant Matthew Nee, during a portion of the time material herein, was a

Training School Counselor for Maine Youth Center, located at 675 Westbrook Street in South

Portland, Maine, and he is sued in his individual capacity;




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         28.    Defendant Jeff Tardiff, during a portion of the time material herein, was a Training

School Counselor for Maine Youth Center, located at 675 Westbrook Street in South Portland,

Maine, and he is sued in his individual capacity;

         29.    Defendant Michael Whelan, during a portion of the time material herein, was a

Training School Counselor for Maine Youth Center, located at 675 Westbrook Street in South

Portland, Maine, and he is sued in his individual capacity;

         30.    Defendants Jane Doe and/or John Doe encompass all unidentified individuals who

worked as Training School Counselors for Maine Youth Center, located at 675 Westbrook Street

in South Portland, Maine, throughout all relevant times hereto.

         31.    At all times material hereto, based upon their official statuses as employees of the

State of Maine Department of Corrections or statuses as being under contract with the State of

Maine Department of Corrections, the Defendants were operating under the color of state law;

         32.    As a result of their official capacity at all material times the above-named

Defendants had a duty to the Plaintiff, Michael Wescott.

                                 STATEMENT OF THE FACTS

I.       Maine Youth Center Policy and Practices

         33.    During all material times, it was the policy, custom, and practice of MYC to use

isolation as a means of “treatment” for certain children. This meant removing certain children from

the regular program, eliminating all contact with other children, and secluding them in a locked

cell for impermissibly extended and excessive periods of time.

         34.    The practice of isolation is statutorily termed as “placing a child under observation”

34-A M.R.S. § 3809(2).




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        35.     Isolation is deemed permissible when a child’s “behavior presents a high likelihood

of imminent harm to that juvenile or others, presents a substantial and imminent threat of

destruction of property” or “demonstrates a proclivity to be absent from the facility without leave.”

34-A M.R.S. § 3809(1). Isolation is to be limited only to circumstances where the child

demonstrates that “anything less restrictive would be ineffectual for the control of the juvenile’s

behavior.” § 3809(1).

        36.     The conditions under which the child “is placed under observation must conform

with all applicable federal and state standards relating to the health and safety of clients in

correctional facilities.” § 3809(2)(B).

        37.     A child may not be placed in isolation for more than “the period of time necessary

to alleviate and prevent the reoccurrence of the behavior.” § 3809(2)(C).

        38.     Isolation must not be used as a form of punishment. See § 3809(2)(C).

        39.     MYC used the Intensive Care Unit (“ICU”) for housing those placed in isolation.

When placed in isolation, children were locked in filthy eight-by-ten-foot cells that contained a

metal bench bed or green plastic cot, a combination metal sink/toilet, concrete floor, and a light

panel in the wall.

        40.     Moreover, the lighting in the cells was dim; it was too dim to read yet bright enough

to inhibit one’s ability to fall and/or stay asleep.

        41.     While in isolation, children received no educational or mental health services, nor

could they participate in any other programming.

        42.     Even though isolation periods frequently extended beyond 24 hours, routinely

exceeding 72 continuous hours, children in isolation were only provided a maximum of one hour

of exercise per day.



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         43.   MYC also used a “restraint chair” to restrain and punish children. This was all part

of a “lock ‘em up and beat ‘em down” approach to child incarceration during the relevant period.

         44.   MYC also utilized zip ties to restrain and punish children who were acting out.

MYC Officers would leave children with their wrists and ankles tied tightly together for hours on

end until they decided to release them.

II.      Michael Westcott’s Background

         45.   Michael grew up in Westbrook, Maine, and was diagnosed with ADHD as well as

a learning disability at an early age, and therefore received special education beginning in the first

grade.

         46.   Michael’s management of his ADHD was a persisting issue that caused him to

outwardly misbehave and was often at the root of how and/or why he got himself into trouble.

Starting in junior high school, Michael’s impulsiveness became more pronounced as his disability

greatly impacted his ability to delay or inhibit his immediate responses. To his dismay, he grew

more familiar with the juvenile criminal justice system and ultimately found himself detained at

the MYC.

         47.   Throughout his first stint at MYC, whenever twelve-year-old Michael acted out or

misbehaved, it was MYC’s policy to provide him “treatment,” which meant being forced to sit at

a table facing the wall, alone for hours, without speaking to anyone in the cottage where he lived

on the MYC campus.

         48.   To use the restroom while in “treatment,” MYC policy required children to raise

their hands to receive permission. Michael would raise his hand to ask for permission, but no one

would ever call on him. This resulted in Michael urinating and defecating himself on more than

one occasion. Guards would then publish this information to other children and make fun of him



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for having an accident. Therefore, electing to act in the alternative, Michael would go to the

restroom even without permission if no one would call on him. This resulted in Michael being

punished further and having to write essays about why he went to the restroom without permission.

       49.     Michael’s first stint at MYC lasted about one month.

       50.     Following his release, Michael was sent to the Weymouth House, a residential

treatment program in Bristol, Maine, and attended Lincoln Academy. During this time, Michael

continued to struggle to control his ADHD symptoms; he often acted out and got into trouble

specifically for distributing his medication to others and fighting with others. In the end, Michael

was expelled and subsequently ousted from Weymouth House. This caused him to violate

probation and be sent back to MYC.

       51.     At this point, the treatment he received at MYC elevated too not only being

psychologically abusive but also physically and sexually abusive as well. This abusive conduct

occurred both in the “cottage” (general population) and the ICU (segregation).

       52.     Michael was treated for his ADHD with Ritalin, a common and accepted

medication given to ADHD patients, from before the age of twelve and at all times pertinent hereto,

except while at the MYC. MYC refused to properly medicate Michael and instead treated him with

Benadryl, an inappropriate and contraindicated over the counter medication. In part because of the

lack of proper medication, Michael was unable to sit still, remain silent, or comply with demands

to do so, or engage in other restrictive requirements ordered by staff.

       53.     In the cottage, Michael was frequently in trouble for failing to remain quiet. On one

occasion when he failed to comply with an order to remain silent, a staff member came over to the

table where Michael was eating and spit in his food, demanding that Michael then eat the food.




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When Michael refused, the staff member grabbed him by the hair and slammed his face into the

plate of food.

       54.       The time Michael spent in the ICU caused him to deteriorate quickly, each time

leaving him in worse condition than before. The endless solitude caused Michael to harm himself,

including cutting and biting himself. Each time Michael harmed himself, the response from MYC

staff was to strip Michael of his clothing and place him in a restraint chair where he would be

observed for hours on end.

       55.       During restraint, Michael was often tortured by the guards, being slapped, ridiculed,

and subjected to verbal abuse.

       56.       Michael was repeatedly strip-searched at MYC. It occurred in the cottages after

visits as well as in the ICU. The strip searches – where the guards would instruct the juvenile male

residents to “squat and cough” – were often done in front of female guards. Specifically, while

Michael was in the ICU, he was told by a group of guards to strip down, even though a female

guard was present. Michael, embarrassed, refused. Due to his refusal, he was tackled by the guards,

who pulled down his drawers and conducted the search in an extremely invasive manner, which

included Michael’s testicles and buttocks being inappropriately touched and, on at least one

occasion, fondled by the male guards conducting them.

       57.       On one occasion, Michael was patted down by a female guard. The female guard

rubbed her hands down his arms, chest, stomach, and genitals. Viewing the guard as an authority

figure and thus believing he did not have a choice, Michael stayed neutral and did not respond.

Seeing that he was not responding, the female guard proceeded to fondle Michael’s genitals and

then rubbed his penis until he ejaculated. The female guard engaged in this sexual conduct for her

own sexual gratification.



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       58.     Furthermore, if observed masturbating in his ICU cell, male and female guards

would bang on the cell door and embarrass and ridicule Michael, as punishment for his behavior.

He was referred to as “wetcock” by the guards and was required to keep his hands over his blanket

if caught masturbating.

       59.     Guards constantly called Michael demeaning and dehumanizing names and

repeatedly slapped his head.

       60.     On at least one occasion, a male guard incessantly antagonized Michael while

Michael was locked inside of his cell. The guard placed his face in the small window of the door

and called Michael demeaning and dehumanizing names. Michael grew so upset that he punched

the window of the door where the guard’s face had been.

       61.     Michael was physically beaten and injured by the guards by being thrown to the

ground and hogtied.

       62.     Michael was forced to write “essays” on how “not to talk” to deal with his ADHD.

       63.     Guards would put salt in Michael’s food so that it was inedible.

       64.     Several times Michael was so desperate in ICU that he tried to end his life by cutting

his wrists. Usually, his self-inflicted wrist injuries would be treated at the MYC and he would be

put back in his cell naked with the door left open without a blanket. A guard was then posted

outside the door and would repeatedly demean and excoriate him.

       65.     On one occasion Michael cut his wrist, reached inside the cut, and “pulled

something.” He was transported to the hospital for treatment.

       66.     He attempted suicide by hanging using a sheet.

       67.     At this point in time, Michael was willing to do anything to get out of the ICU and

away from the abuse he was receiving at MYC.



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       68.     While at MYC, Michael was denied treatment for his ADHD and denied adequate

mental health treatment. His previously disabling mental health condition was exacerbated, and he

also developed PTSD because of the intolerable conditions and treatment. He received no mental

health treatment following his suicide attempts despite the obvious need for treatment.

       69.     Michael was also put in a less restrictive unit called the New Security Building

(“NSB”) for a period of his time at MYC. There he was in lockdown 20 hours a day, getting out

for breakfast, lunch, and dinner, and he could walk around. He was housed in a small room with a

cot, metal toilet, brick walls, and a tiny opaque window.

       70.     Throughout the time Michael spent in isolation and segregation it was known in the

correctional community that (1) mentally disabled inmates were more likely to be isolated, and (2)

that the impact of isolation on mentally disabled inmates was more severe, leading to exacerbation

and creation of additional mental health illnesses, and including increased threat of attempted and

actual suicide. Placing Michael in the ICU and NSB was done with deliberate indifference to a

substantial risk of serious harm, known at all pertinent times by MYC personnel who also failed

to administer proper mental health and medical treatment to Michael thereby greatly increasing

the known risk of harm.

       71.     While confined at MYC, due to being often placed in isolation or segregated from

his peers, Michael was denied his right to an appropriate education.

       72.     To summarize, during his confinement at MYC, Michael was frequently and

forcibly strip-searched, which involved Michael being stripped of his clothing and physically,

psychologically, and sexually assaulted. Defendants forcibly touched and fondled Michael’s

buttock and genitals to cause him physical and/or psychological pain while restraining him. Female




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guards were present both during strip searches and while the children took showers, observing

Michael’s, and others, naked teenage bodies.

       73.     Defendants unconsented physical touching of Michael’s genitals and buttocks

while conducting strip searches, throughout which he was restrained, was done with intent to cause

Michael's physical discomfort, suffering and pain, as well as to offend, degrade, and humiliate

him, and for the sexual gratification of the perpetrator.

       74.     Defendants continued cruel treatment of Michael throughout his confinement at

MYC caused him to develop, and continued to exacerbate, severe emotional and mental

disabilities, including but not limited to PTSD, depression, overwhelming anxiety, and ADHD.

       75.     While incarcerated at MYC and for years thereafter, Michael failed to recognize

that the inappropriate and cruel treatment he received at MYC was committed in violation of his

constitutional rights. He believed the treatment he received while incarcerated as a juvenile at

MYC was typical and inescapable; he did not recognize or understand it as being wrong.

       76.     Michael was released and reincarcerated at least one time between the ages of

eighteen to twenty-one. He was officially released from MYC and freed from the juvenile system

in 2001. Since then, due to the mistreatment, Michael has suffered constant anxiety,

hypervigilance, and is unable to lead a normal life. He suffers from and has been diagnosed with,

PTSD, ADHD, major depression, and personality disorder. He finds it difficult to be alone or stay

in any one place for a prolonged amount of time. He has a service dog prescribed by his doctor.

       77.     Before, during, and after his release in 2001, Michael has suffered and continues to

suffer from multiple severe emotional and mental disabilities.

       78.     Due to his disabilities, Michael’s ability to function in society is severely limited

and has prevented him at all pertinent times from protecting his rights.



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         79.   Since leaving the MYC, Michael has been unable to successfully hold a job or care

for himself. He is unemployable.

         80.   For eight years, Michael was homeless. During this time, he lived in thirty-four

states; he was running from state to state, afraid of being locked down in one place.

         81.   Although currently sober, Michael struggles with drug and alcohol addiction.

         82.   Since 2007, Michael has worked regularly with a caseworker to enable him to meet

his day-to-day obligations.

         83.   As a result of working with a caseworker, Michael was able to apply for social

security disability benefits due to mental illness in 2008. Michael was on the waiting list to receive

Supplemental Security Income (“SSI”) from 2008-2010. During that interim, Michael received

Maine General Assistance, entered the Avesta Housing program, and received food vouchers. As

a result of the help that his caseworker provided, Michael was able to put a roof over his head and

feed himself for the first time. Michael was determined fully disabled and eligible due to mental

illness in 2011.

         84.   Michael was unable to manage his own SSI benefits. A family member became the

social security benefit payee and controls his limited finances.

                                        COUNT I
      42 U.S.C. § 1983 — Eighth Amendment: Excessive Isolation, Excessive Restraints,
                                       Excessive Force
    (Plaintiff Michael Wescott v. Defendants Dewitt, D. Nee, Coyne, Dickson, Hawkins,
   Gendron, Lemery, MacDougall, M. Nee, Tardiff, Whelan, Jane Doe and/or John Doe)

         85.   All previous paragraphs are incorporated herein by reference as though fully set

forth.

         86.   Plaintiff makes a claim under 42 U.S.C. § 1983 for violation of the Eighth

Amendment of the United States Constitution.



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       87.        The Eighth Amendment prohibits “the unnecessary and wanton infliction of pain.”

Hudson v. McMillian, 503 U.S. 1, 5 (1992).

       88.        Whether measures taken by prison guards constitute “unnecessary and wanton

infliction of pain and suffering ultimately turns on whether the force was applied in a good faith

effort to maintain or restore discipline or maliciously and sadistically for the very purpose of

causing harm.” Id. at 6 (citing Whitely v. Albers, 475 U.S. 312, 320-21 (1986)).

       89.        To decide what force is excessive, and thus crosses the constitutional line, courts

look to such factors as:

             a.   The need for force;
             b.   Whether the amount of force used was reasonable given the need;
             c.   How serious the need for force appeared to the guard(s);
             d.   Whether the guard(s) made efforts to use as little force as necessary; and
             e.   How badly the complainant was injured.

Johnson v. Glick, 481 F. 2d 1028, 1033 (2d Cir. 1973).

       90.        Training School Counselors Dewitt, D. Nee, Coyne, Dickson, Hawkins, Gendron,

Lemery, MacDougall, M. Nee, Tardiff, Whelan, and/or Jane Doe and/or John Doe, while acting

under color of state law, deliberately, purposefully, and knowingly used excessive isolation,

excessive restraint, and excessive force against Michael that was objectively unreasonable in

violation of the Eighth Amendment of the United States Constitution.

       91.        Training School Counselors Dewitt, D. Nee, Coyne, Dickson, Hawkins, Gendron,

Lemery, MacDougall, M. Nee, Tardiff, Whelan, and/or Jane Doe and/or John Doe, maliciously

and sadistically utilized excessive isolation and restraint tactics, as well as utilized excessive force

to cause harm to Michael.




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         92.   The use of force deprived Michael of his clearly established right to be protected

from unnecessary and wanton infliction of pain and suffering, as guaranteed by the Eighth

Amendment to the United States Constitution.

         WHEREFORE, Plaintiff Michael Wescott respectfully requests that the Court enter

judgment against the Defendants on Count I and award him actual and punitive damages in an

amount to be proven at trial, costs, interest, attorneys’ fees, and any other relief the Court deems

just and equitable.

                                        COUNT II
                    42 U.S.C. § 1983 — Eighth Amendment: Sexual Assault
    (Plaintiff Michael Wescott v. Defendants Dewitt, D. Nee, Coyne, Dickson, Hawkins,
   Gendron, Lemery, MacDougall, M. Nee, Tardiff, Whelan, Jane Doe and/or John Doe)

         93.   All previous paragraphs are incorporated herein by reference as though fully set

forth.

         94.   Plaintiff makes a claim under 42 U.S.C. § 1983 for violation of the Eighth

Amendment of the United States Constitution.

         95.   In Farmer v. Brennan, the U.S. Supreme Court recognized the right to be free from

rape and sexual assault in prison, holding that deliberate indifference to the substantial risk of

sexual assault violates prisoners’ rights under the Cruel and Unusual Punishment Clause of the

Eighth Amendment. 511 U.S. 825, 829 (1994).

         96.   Rape or sexual assault committed by prison guards, facility supervisors, and/or any

other similarly situated people violate the U.S. Constitution. Smith v. Cochran, 339 F.3d 1205,

1213 (10th Cir. 2003).

         97.   Because sexual assault is both malicious and harmful, it is deemed unjustifiable

conduct without any “legitimate penological purpose.” Farmer, 511 U.S. at 834. This means that




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meeting the constitutional test for an Eighth Amendment violation due to rape or sexual assault in

prison is less difficult than other assault cases. See id.

        98.      Claims for sexual assault may be brought even if no physical injury resulted.

Schwenk v. Hartford, 204 F.3d 1187, 1196-97 (9th Cir. 2000).

        99.      Moreover, the Prison Rape Elimination Act (“PREA”) was passed by Congress in

2003 and applies to all detention facilities, including federal and state prisons, jails, private

facilities, and immigration detention centers, specifically recognizing that sexual assault in

detention can constitute a violation of the Eighth Amendment. 42 U.S.C. § 15601(13).

        100.     A prison official violates the Eighth Amendment when:

              a. He/she acts or fails to act, which results in creating an objectively serious harm or
                 risk of harm to the inmate; and
              b. His/her subjective state of mind is one of “deliberate indifference” — meaning that
                 the official knew of the substantial risk to the inmate’s health or safety and did
                 nothing to adequately protect or prevent the injury-causing event.

Farmer, 511 U.S. at 834.

        101.     Training School Counselors Dewitt, D. Nee, Coyne, Dickson, Hawkins, Gendron,

Lemery, MacDougall, M. Nee, Tardiff, Whelan, and/or Jane Doe and/or John Doe, while acting

under color of state law, deliberately, purposefully, and knowingly mistreated Michael, and created

an environment that allowed for objectively serious harm to be caused to Michael.

        102.     Michael was routinely, repeatedly, and often unnecessarily, stripped searched by

male officials at MYC, and on one occasion by a female official.

        103.     At all times material hereto, Training School Counselors Dewitt, D. Nee, Coyne,

Dickson, Hawkins, Gendron, Lemery, MacDougall, M. Nee, Tardiff, Whelan, and/or Jane Doe

and/or John Doe, while acting under color of state law, acted with deliberate indifference to




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Michael’s safety or wellbeing, resulting in Michael suffering from constant anxiety, PTSD,

depression, and personality disorder.

           WHEREFORE, Plaintiff Michael Wescott respectfully requests that the Court enter

judgment against the Defendants on Count II and award him actual and punitive damages in an

amount to be proven at trial, costs, interest, attorneys’ fees, and any other relief the Court deems

just and equitable.

                                          COUNT III
           42 U.S.C. § 1983 — Eighth Amendment: Denial of a Right to Treatment
          (Plaintiff Michael Wescott v. Defendant Heath, Jane Doe and/or John Doe)

         104.   All previous paragraphs are incorporated herein by reference as though fully set

forth.

         105.   Plaintiff makes a claim under 42 U.S.C. § 1983 for violation of the Eighth

Amendment of the United States Constitution.

         106.   Defendant Barbara Heath and other MYC health professionals, including Jane Doe

and/or John Doe, acted in deliberate indifference by failing to address or treat Michael’s serious

medical needs, including his ADHD and severe mental health issues, which resulted in causing

ongoing, unnecessary, and wanton infliction of pain.

         107.   Barbara Heath and other MYC health professionals refused to properly treat and/or

medicate Michael during his time at MYC.

         108.   Initially, Michael was prescribed Wellbutrin. Michael repeatedly expressed

experiencing negative, medically acknowledged, side effects from the medication in that it made

him feel angry. Eventually, Michael was taken off the Wellbutrin.

         109.   Then, although Ritalin was a common and accepted medication given to patients

with ADHD at that time, Heath and other health professionals refused to medicate Michael with



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it. She instead gave him Benadryl, which was an ineffective and inappropriate treatment, and

contraindicated for ADHD patients in that it acted to increased symptoms associated with ADHD.

         110.   Michael has no memory of ever getting the opportunity to meet with Barbara Heath

to discuss his medical needs.

         111.   Due to Heath’s failure to appropriately treat Michael for ADHD, Michael was

frequently in trouble due to his inhibited ability to remain quiet or control his immediate responses.

         112.   As a result of his lack of appropriate medication for his ADHD, Michael was often

sent to isolation for extended periods. Consequently, he began to engage in self-harm. He was

never provided appropriate medical health treatment for such conduct.

         113.   Michael tried to end his life several times while in isolation. He cut his wrists and

attempted to hang himself by using a sheet. He received no mental health treatment despite his

suicide attempts.

         114.   The Defendants’ deliberate indifference to Michael’s health and wellbeing violated

Michael’s clearly established right to be protected from unnecessary and wanton infliction of pain

and suffering, guaranteed by the Eighth Amendment.

         WHEREFORE, Plaintiff Michael Wescott respectfully requests that the Court enter

judgment against the Defendant on Count III and award him actual and punitive damages in an

amount to be proven at trial, costs, interest, attorneys’ fees, and any other relief the Court deems

just and equitable.

                                          COUNT IV
             42 U.S.C. § 1983 — Monell Claim for Negligent Hiring and Failure to Train
          (Plaintiff Michael Wescott v. Defendants DOC, MYC, Magnusson, Lehman, Saar,
                                      Olsen, Lancaster, Carlisle)

         115.   All previous paragraphs are incorporated herein by reference as though fully set

forth.

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        116.    A governmental entity may be held liable under § 1983 only for its own

unconstitutional or illegal policies and not for the tortious acts of its employees. See Monell v.

Dept. of Soc. Servs., 436 U.S. 658, 694 (1978).

        117.    Such liability also exists where a governmental entity fails to properly train,

supervise, and discipline its employees amounting to deliberate indifference to one’s constitutional

rights. Ohio v. Daniels, 717 F.2d 932, 936 (4th Cir. 1983).

        118.    To establish a § 1983 claim against a governmental entity such as a state

correctional facility, the plaintiff must allege that “(1) the policy or custom existed; (2) the

governmental policymakers actually or constructively knew of its existence; (3) a constitutional

violation occurred [by a person acting under the color of state law]; and (4) the custom or policy

served as the moving force behind the violation.” Meadowbriar Home for Children v. G.B. Gunn,

81 F.3d 521, 532-33 (5th Cir. 1996).

        119.    An offending policy may be an official policy adopted or promoted by the

governmental entity or a “persistent, widespread practice of the [governmental entity] officials or

employees” that is “so common and well settled as to constitute a custom that fairly represents

[governmental entity] policy.” Johnson v. Moore, 958 F.2d 92, 94 (5th Cir. 1992).

        120.    A policy or custom becomes “official for purpose of § 1983 when it results from

the decision or acquiescence of the municipal officer or body with final policymaking authority

over the subject matter of the offending policy.” Gros v. City of Grand Prairie, Tex., 181 F.3d 613,

615 (5th Cir. 1999) (citing Jett v. Dallas Independent Sch. Dist., 491 U.S. 701, 737 (1989)).

        121.    However, “[t]he description of policy or custom and its relationship to the

underlying constitutional violation . . . cannot be conclusory; it must contain specific facts.” Spiller

v. City of Texas City, Police Dept., 130 F.3d 162, 167 (5th Cir. 1997).



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       122.    Finally, a plaintiff must also assert that the inadequate policy or custom was

adopted with deliberate indifference to the constitutional rights of its citizens. City of Canton, Ohio

v. Harris, 489 U.S. 378, 387-91.

       123.    At all times relevant, Defendants Magnusson, Lehman, Saar, Olsen, Lancaster, and

Carlisle, each in their supervisor capacity at MYC, a state-run center for the incarceration of

juveniles operating under the Maine DOC, had a duty to properly train, supervise, and discipline

their employees and agents in the use of isolation, restraint, and force, specifically on the use of

such tactics in relation to incarcerated juveniles, pursuant to 34-A M.R.S. § 1202.

       124.    Defendants breached that duty in part by:

           a. Improperly training, authorizing, encouraging, or directing officers on the proper
              use of isolation, restraint, and force in relation and the effects of such tactics when
              used on juvenile residents.
           b. Failing to adequately investigate allegations of excessive isolation, restraint, and
              force.
           c. Failing to meaningfully discipline officers for violations of policy related to
              excessive force.

       125.    The policy, pattern of practice, or custom of condoned misconduct is tacitly or

overtly sanctioned, as evinced by Defendants’ failure to train, supervise, investigate, and

meaningfully discipline Training School Counselors for their use of excessive isolation, restraint,

and force on juvenile residents at MYC.

       126.    The unconstitutional behavior of MYC’s Training School Counselors was carried

out pursuant to the policy, the pattern of practice, and/or the custom, whether formal or informal,

which violates the constitutional rights of persons situated such as the Plaintiff.

       127.    It was the policy, pattern of practice, and/or custom that MYC Training School

Counselors not to report the use of such isolation, restraint, or force as required.




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        128.    The Training School Counselors’ custom of subjecting juvenile residents to

impermissibly prolonged confinement in isolation, excessive and frequent use of restraint,

inappropriate and sexualized strip searches, as well as continued and routine physical abuse,

establishes an overt policy, pattern of practice, and/or custom of condoned misconduct and is

causally related to the violations of Michael’s constitutional and civil rights.

        129.    The DOC, MYC, and its supervisors — Defendants Magnusson, Lehman, Saar,

Olsen, Lancaster, and Carlisle — had knowledge of the Training School Counselors’ excessive

and unconstitutional patterns and practices and knowledge that the same gave rise to a risk of

violations of citizens’ federal rights.

        130.    Defendants made a deliberate and/or conscious decision to disregard the known

risk of harm that would result from the Counselors’ unconstitutional patterns and practices and

acted deliberately indifferent to and/or tacitly authorized the same.

        131.    On or before 1995 until at least 2001, MYC supervisors acted with deliberate

indifference to the rights of their juvenile residents, and tolerated, permitted, failed to correct,

promoted, and/or ratified a number of unconstitutional customs, patterns, or practices that failed

to provide for the safety of incarcerated juvenile residents, including, but not limited, excessive

use of isolation, restraint, and force.

        132.    Throughout the aforementioned timeframe, MYC supervisors, with deliberate

indifference to the rights of incarcerated juvenile residents, tolerated, permitted, failed to correct,

promoted or ratified a number of customs, patterns, and/or practices that shall be further identified

in discovery.

        133.    As a direct proximate cause of the actions of the Defendants, Plaintiff has suffered

damages.



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         WHEREFORE, Plaintiff Michael Wescott respectfully requests that the Court enter

judgment against the Defendants on Count IV and award him actual and punitive damages in an

amount to be proven at trial, costs, interest, attorneys’ fees, and any other relief the Court deems

just and equitable.

                                         COUNT V
          42 U.S.C. § 1983 — Fourteenth Amendment: Right to Educational Services
 (Plaintiff Michael Wescott v. Defendants DOC, MYC, Magnusson, Lehman, Saar, Olsen,
     Lancaster, Carlisle, Dewitt, D. Nee, Coyne, Dickson, Hawkins, Gendron, Lemery,
             MacDougall, M. Nee, Tardiff, Whelan, Jane Doe and/or John Doe)

         134.   All previous paragraphs are incorporated herein by reference as though fully set

forth.

         135.   The Equal Protection Clause of the Fourteenth Amendment requires that no child

be denied access to school and that all children be given equal educational opportunities,

regardless of their race, ethnicity, background, religion, sex, or citizenship. See Brown v. Board

of Education, 347 U.S. 483, 495 (1954).

         136.   Moreover, the Individuals with Disabilities Education Act (“IDEA”) requires that

students with disabilities be provided with an education that is appropriate for them. 20 U.S.C. §

1400.

         137.   The State is required to have policies and procedures in effect to ensure that public

agencies in the State meet the Least Restrictive Environment requirements, essentially requiring

that children with disabilities are educated with children who are nondisabled to the maximum

extent possible. See 34 CFR § 300.114(a)(1)(2).

         138.   While in confinement at MYC, Michael was denied his right to an appropriate

education.




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          139.   Michael was only able to attend school with the other children at the very beginning

 of his confinement at MYC.

          140.   While housed in the NSB building, the education provided to the children consisted

 of being placed in a classroom with a Television and VCR set. Educational videos, such as science

 videos, would be played for the children. Then, children were assigned to either write essays on

 what they had learned or take quizzes and/or tests.

          141.   Each time Michael was placed in isolation, he was removed from the regular

 programming, including educational programming, and was prevented from interacting with his

 peers.

          142.   Defendants denied Michael access to education and failed to provide him an

appropriate education in recognition of his mental disabilities.

          WHEREFORE, Plaintiff Michael Wescott respectfully requests that the Court enter

judgment against Defendant Olsen on Count V and award him actual and punitive damages in an

amount to be proven at trial, costs, interest, attorneys’ fees, and any other relief the Court deems

just and equitable.

                                       COUNT VI
   42 U.S.C. § 12132 — Discrimination Against Qualified Individual with Disabilities in
        Violation of the Americans with Disabilities Act and the Rehabilitation Act
 (Plaintiff Michael Wescott v. Defendants DOC, MYC, Magnusson, Lehman, Saar, Olsen,
                                Lancaster, Carlisle, Heath)

          143.   All previous paragraphs are incorporated herein by reference as though fully set

forth.

          144.   “No qualified individual with a disability shall, by reason of such disability, be

excluded from participation in or be denied the benefits of the services, programs, or activities of

a public entity, or be subjected to discrimination by any such entity.” 42 U.S.C. § 12132.



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       145.    The term “disability” means, “a physical or mental impairment that substantially

limits one or more life activities of such individual; a record of such an impairment; or being

regarded as having such an impairment.” 42 U.S.C. § 12102(1)(A)-(C).

       146.    Congress intended the definition of “disability” to be “construed in broad coverage

of individuals . . . to the maximum extent permitted.” § 12102(4)(A).

       147.    Michael Wescott is an individual with a disability.

       148.    Defendants DOC, MYC, Magnusson, Lehman, Saar, Olsen, Lancaster, Carlisle,

and Heath, in their official capacities, intentionally refused to provide reasonable accommodations

for Michael, despite his diagnosed disabilities and thereby discriminated against Michael because

of his disability in violation of 29 U.S.C. § 794.

       WHEREFORE, Plaintiff Michael Wescott respectfully requests that the Court enter

judgment against Defendants on Count VI and award him actual and punitive damages in an

amount to be proven at trial, costs, interest, attorneys’ fees, and any other relief the Court deems

just and equitable.

                                    JURY TRIAL DEMAND

       149.    Plaintiff demands trial by jury on each count so triable.

                                          CONCLUSION

       WHEREFORE, Plaintiff Michael Wescott respectfully requests that the Court enter

judgment against Defendants on Counts I through VI and award him compensatory damages in

the amount of one million dollars, as well as any other actual and punitive damages in an amount

to be proven at trial, costs, interest, attorneys’ fees, and any other relief the Court deems just and

equitable.




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Dated March 11, 2021 in Portland, Maine.
                                           Respectfully submitted,

                                           /s/ Thomas F. Hallett
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